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 6                               UNITED STATES DISTRICT COURT
 71                               DISTRICT OF NEVADA
 sl1 IJNITED STATESOFAMERICA
                                  ,         )
                                            )                                                        l
 9                     Plaintiff,           )
                                            )
10          v.                              )     2:09-CR-121-KJD (PAL)
                                            )                                                        i
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         -TA.
           one
             V-I
               ''LLALTA,                    )
                                            )
l2'                                         )
                          Defendant.
131                               FINAL ORDER 017FORFEITURE

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  ,
  t          OnFebruary2,2010,theUni
                                   tedStatesDistrictCourtfortheDistrictofNevadaenteredat
15I Preliminal'yOrderofForfeiturepursuanttoTitle21,UnitedStatesCode,Section853(a)(1),(a)(2)and (
     I                                                                                               (
16 I
   i (p), based uponthe pleaofguilty bydefendantJOSE A . VILLA LTA ,akaçd-fbne''to crim inaloffense, :
                                                                                                     .
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17 forfeiting speciticproperty alleged intheCrim inalIndictmentand shownby theUnited Statesto have
  il      isite nexusto the offenseto which defendantJo sE A
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  !arequ
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                                                            .
                                                                VILLALTA,aka'
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                                                                            rone'pledguil
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     i       This Courttinds the United States ofA merica published the notice ofthe forfeiture in
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20t.accordancewiththelaw viatheoftkialgovtrnmentintenwtforfeituresite, www.forfeitm e.gov,
  tI
21 consecutively from M arch 27, 2010throughApril25,2010,notifyingallknownthirdpartiesoftheir
22(.
    '!righttopetitiontheCourt.                                                                       I
23 ;         Thi
                sCoul'
                     ttindsno pdition was filed herein by oron behalfofany person orentity and th
24$$tim efortiling suchpetitionsand claim shasexpired                                           e$
  !                                                  .
                                                                                                     i
25           ThisCourttindsnopetitionsarependingwithregardtotheassetsnam edhereinandthetim e
26, forpresenting such petitionshasexpired.
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  1.
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l           THEREFORE,IT IS H EREBY ORDERED ,AD JUD GED,AND DECREED thatallright,
2 title,and interest in the property hereinaher described is condem ned,forfeited,and vested in the
3 United SttesofAmericapursuanttoFed.R.Crim.P.32.2(b)(4)(A)and (B);Fed.R.Crim.P.
4 32.2(c)(2);Title21,UnitedStatesCode,Section853(a)(1),(a)(2),(n)(7)andtp)andshallbedisposed
5 ofaccording to law :
6                 aninpersonam oriminalforfeituremoneyjudgmentof$90,000.00inUnitedStates
7                 Currency,including:
8                 a)     $26,400.00inUnitedStatesCurrencyseizedfrom l3lCoreyCreekCourt,Las
9i1                      Vegas,NV outoftheabedroom stuffedinthreedifferentshoes;
10                b)      $1,859.00in UnitedStatesCurrencyl'
                                                           ubberbandedtogetherseized from the
11                        garage atl31Corey Creek Court,LasVegas,NV ;and

12                c)      Ruger P95,9mm handgun bearing serial number 316-78138 and a clip
13                        containing 15 bullets located underthe bed in the room ofVillalta located at
14                        131 Corey Creek Court,LasVegas,NV .
15          IT IS FURTH ER ORDERED ,ADJUDGED,AN D DECREED thatany and allforfeited
16 funds,including butnotlim ited to,currency,currency equivalents,certificatesofdeposit,aswellas 7

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  'anyincomederivedasaresultoftheUnitedStatesofAmerica'smanagementofanyproperty
l8 I forfeited herein,and the proceeds from the sale of any forfeited property shall be disposed of
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     accordingolaw.                                                                                      j
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20i         TheClerkishcrebydirectedtosendcopi
                                             esofthisOrdertoaIlcounselofrecordandthree '
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21l certifiedcopiesto theUnited StatesAttorney'sOffice.                                                  '
  I                       ..
                           )xv.i
22 I         DATED this ç--k9 --- day of -                    ,   2010.
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  '                                                                                                      j
24                                              UNITED STATES ISTRICT JUDGE
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         Case 2:09-cr-00121-KJD-PAL       Document 89         Filed 06/24/10     Page 3 of 3




     1                                   pRooF o: sERvlcE                                             1
 2             1, A lexandra M .M cW horter, certifythatthefollowingindividualswereservedwithcopies
 3 oftheFinalOrderofForfeîtureonJune22 2010by thebelow identitied method ofservice:
                                              ,
 4             s -m ail/EcF
 6E            P
                aola M .A rm eni
 6   .         Gordon& Silver,Ltd.
     I         3960HowardHughesParkwgy,NinthFloor
 7t
  '
  ;            LasV egas, N'V 89169
               Email:usdcnotices@gordonsilver.com
 g             CouuelforChristopherSuasaeng
                                                                                                      i
 9             John T.M oran,lI1
               M oran Law Firm
10 I           630 South Fourth Street
               LasVegas, NV 89101                                                                     i
llI            Em ail:r.
                       gullo@moranlawfirm.com
12             CounselforJoseA.VîllaltaandlessicaD.Licea
13

14j                                                ys/Alexandrm M cW horter                           !
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lj                                                ALEM NDRA M .M CW HORTER
  j                                               Forfeiture SupportA ssociateParalegal               '
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